Case 1:23-cv-06146-NGG-JAM Document 1-4 Filed 08/15/23 Page 1 of 7 PagelD #: 112

Exhibit D

List of sixty -four (64) cases finding KCDA

prosecutors violated Brady, Knowingly,
Used False or Misleading Evidence and

made improper summation arguments

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LIST OF 64 CASES FINDING KCDA PROSECUTORS
VIOLATED BRADY, KNOWINGLY USED FALSE OR
MISLEADING EVIDENCE, AND MADE IMPROPER
SUMMATION ARGUMENTS

People v. Murphy, 109 A.D.2d 895 (2d Dep't 1985)(prosecutor failed to timely
disclose Brady material) .

People v. Perez, 65 N.Y.2d_ 154 (1985)(prosecutor committed Rosario violation
by fatlingto disclose documentation indicating key witness accepted bribe)

People v. Gairy, 116 A.D.2d 733 (2d Dep’t 1986)(prosecutor failed to timely _
disclose Brady material)

People v. Rangheile, 69 N.Y.2d 56 (1988)(DA failed to obtain and disclose
Rosario matenal; conviction reversed)

People v. Lugo, 153 A.D.2d 761 (2d Dep't 1989)(prosecutor's suppression of
Rosario material required reversal of conviction)

People v. Cortez, 149 Misc.2d 886 (Sup. Ct. Kings Co. 1990)(police violated |
Brady by violating court order and intentionally destroying tape containing
impeachment material; DA "shared responsibility"; indictment dismissed)

People v. Nedrick, 166 A.D.2d 725 (2d Dep't 1990)(failure to disclose tape-
recordedimpeachment material) oo

People v. Anderson, 160 A.D.2d 806 (2d Dep't 1990}(prosecutor failed to timely
disclose impeachment material)

People v. Julio Acevedo, Ind. Nos. 9292/87 and 1373/87 (during defendant’s
1996 trial, prosecutor suppressed that a cooperating witness had confirmed the

defendant’s duress defense that he had been forced to commit the crime)

People v. Derrick Hamilton, Ind. No. 142/91 (trial prosecutor falsely presented
her as a voluntary witness, but did not disclose that she had been arrested in North
Carolina, extradited to New York against her will, threatened by the trial judge at
a secret proceeding with incarceration if she did not cooperate with the ADA, and
then held in a "hotel custody" by DA's detective-investigators. Several
prosecutors then withheld all of these facts during defendant’s post-verdict CPL $
330.30 hearing)

Page 1 of 6
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People v. David Ranta, Ind. No. 8990/90, reported at 203 A.D.2d 307 (2d Dept.
1994)(myriad Brady violations and use-of false or misleading evidence during
defendant’s 1991 trial. Appellate Division notes it does not “condone,” the Brady
and Rosario violations, but did not reach the merits on the ground of lack of
preservation) ,

People v Jonatham Fleming, 196 A.D.2d 551 (2 Dep’t 1993) (during defendant’s
1990 murder trial, prosecutor suppressed Brady material indicating defendant was
in another State at the time the crime was committed. Exonerated in 2014 upon
the motion of the new KCDA, Ken Thompson)

Lopez v. Miller, 915 F.Supp.2d 373, 431 (E.D.N.Y. 2013) (Garifus, J.) (court finds
that the prosecutor, during defendant’s 1990 murder trial, was.“overzealous and
deceitful” and falsely claimed prosecution witness had never been made aware of
cooperation agreement)

People v. Brazzeal, 172 A.D.2d 757 (2d Dep't 1991)(prosecutor gave an improper
and prejudicial summation);

People v. Faison, 176 A.D.2d 752 (2d Dep't 1991)(prosecutor belatedly

' disclosed witness’ prior statement)

People v. Crespo, 188 A.D.2d 483 (2d Dep't 1992}(mistrial granted due to

 prosecutor’s Brady violation)

People v. Brown, 187 A.D.2d 437 (2d Dep't 1992)(trial court sanctioned
prosecutor for Brady violation)

People v. Young, 155 Misc.2d 878 (Sup. Ct. Kings Co. 1992} (failure to disclose
impeachment material required new trial; hearing court condemned prosecution
for tailoring testimony)

Walker v. City of New York, 914 F.2d 293 (2d Cir. 1992)(court upheld Monell

claim against City of New York for unlawful policies of Brooklyn D.A.'s Office
that allegedly resulted in withholding of Brady material causing plaintiff's
wrongful conviction and 18- year imprisonment [City settled for $3.5 million])

People v. Donald Giddings, 2/21/92 NYLJ 25 (col. 1)(Sup. Ct, Kings Co.
February 21, 1992)(prosecutor's failure to disclose witness's prior inconsistent
statements required conviction to be vacated)

Page 2 of 6
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People v. Cecora, 186 A.D.2d 215 (2d Dep't 1992}(failure to disclose ADA
interviewnotes with arresting officer containing potential impeachment)

People v. Hughes, 181 A.D.2d 132 (2d Dep't 1992)(hearing required regarding
failure todisclose exculpatory police report)

People v. Jnswood, 180 A.D.2d 649 (2d Dep't 1992}(DA's failure to turn over

Brady material was error)

People v Wagstaffe, 120 A.D.3d 1361(2d Dep’t 2014) (during 1992-1993 trial,
prosecutor suppressed Brady material that contradicted detective’s testimony at
defendants’ Wade hearing)

People v. Jackson, 198 A.D.2d 301 (2d Dep't 1993), affirming 154 Misc.2d 718
(Sup. Ct., Kings County. 1992)(prosecutors failed to timety disclose exculpatory
statements; conviction reversed)

People v. Stevens, 199 A.D.2d 441 (2d Dep’t 1993)(Rosario material
“improperly” withheld as well as Brady material; prejudice not sufficient to
require reversal)

People v. Jeffrey Marshall, Ind. Nos. 7578/92, 9490/92, 12592/92 (Homicide
Bureau Chief Michael Vecchione suppresses his cooperation agreement with star
prosecution witness, elicits wintess’ false tesitmony, and produces witness to
KCDA on Damiani order to negotiate deal with witness and circumvent the
witness’ lawyer)

People v. Khadaidi, 201 A.D.2d 585 (2d Dep't 1994)(conviction reversed for DA's
failure to disclose prosecutor's interview notes with complainant containing a
prior inconsistent statement)

People v. Alvarado, 201 A.D.2d 486 (2d Dep't 1994)(police reports containing

- impeachment material not disclosed. conviction reversed)

People v. Barnes, 200 A.D.2d 751 (2d Dep't 1994)(prosecutor did not record and
did not disclose eyewitness's recantation; conviction not reversed because
eyewitness ultimately recanted on the witness stand and was adequately cross-
examined)

People v. Bramble, 207 A.D.2d 407 (2d Dep't 1994)(sanctions upheld for
prosecution’s failure to preserve police audiotapes notwithstanding defense
discovery request)

Page 3 of 6
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People v. Roberts, 203 A.D.2d 600 (2d Dep't 1994)(DA delayed one year in
disclosing exculpatory witness statement, by which time witness was unavailable;
conviction reversed)

People v. Neptune, 161 Misc.2d 781 (Sup. Ct Kings County 1994)(Gerges, J.)
(court ruled D.A.’s Office acted unethically by improperly using invalid
subpoena to cause a witness to appear for an interview at the D.A..'s office)

People v. Scott, 216 A.D.2d 592 (2d Dep't 1995)(DA suppressed reports,
including polygraph results indicating key witness was withholding information)

People v. Ramos, 166 Misc.2d 515 (Sup. Ct. Kings Co. .1995}(due to DA’s policy
of not taking of witness interviews, trial assistant not aware that previous
assigned prosecutors interviewed complainant and possibly obtained information
the court had required the People to. disclose to the defense; conviction vacated on

due process grounds)

People v. Rahman, 231 A.D.2d 745 (2d Dep't 1996)(matter remitted for hearing .
concering prosecution's apparent improper withholding of witness's
cooperation agreement)

People v. Perkins, 221 A.D.2d 572 (2d Dep't 1996)(prosecutor failed to disclose
cooperation agreement as required with witness)

People ¥ Scott, 88 N.Y.2d 888 (1996)(DA failed to disclose statement regarding
polygraph result)

People v. Callendar, 227 A.D.2d 499 (2d Dep't 1996) (conviction reversed due to.
ADA'sfailure to turn over notes of detective's prior statement])

People v. Bruce, 224 A.D.2d 438 (2d Dep't 1996)(conviction reversed for

_ prosecutor’sfailure to produce police reports containing impeachment material)

People v. Dominic Dupont, Kings County Indictment Number 6287/97 (Feldman,

J.\(court found ADA made misrepresentation during defendant’s 1998 trial by
claiming Office did not possess physical evidence specifically requested by the
defense)

People v. Roger Logan, (convicted in 1997 after prosecutor introduced false
evidence by “eyewitness” who was actually in jail at the time of the relevant
events. Conviction vacated in 2014 by DA Ken Thompson’s Conviction
Integrity Unit)

Page 4 of 6
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People v. LaSalle, 243 A.D.2d 490 (2d Dep't 1997)(conviction reversed due to
prosecutor’s “blatant misrepresentation of the facts” during summation)

_People v. Gourgue, 239 A.D.2d 357 (2d Dep't 1997)(prosecutor put notes of

complainant’s statements in the form of questions to “circumvent” disclosure
obligation; conviction reversed)

' People v. Hill, 244 A.D.2d 572 (2d Dep't 1997){prosecutor sa sanctioned for failing

to disclose 911 tape)

People v. Gramby, 251 A.D.3d 346 (2d Dep't 1998)(prosecutor suppressed 911
tape during pre-trial hearing and failed to disclose it before trial)

_ People v. Green, 10/19/99 N.YLJ. p.30, col. 1 (Sup. Ct., Kings Co., October 19,

1999)(Starkey, J.)(People failed to disclose Brady material)

People v. Bond, 95 N.Y.2d 840 (2000)(myriad Brady violations established at
CPL § 440.10 hearing, including failure to disclose material witness proceeding
concerning principal witness; conviction reversed due to failureof DA to _
disclose prior unrecorded statements to police by People's main witness that she
did not see the shooting about which she testified as an “eyewitness”)

People v. Davis, 709 N.Y.S.2d 345. (Sup.Ct. Kings Co. 2000)(DA’s Office violated
court’s order to disclose exculpatory evidence to defense before. indictment;
indictment dismissed) ,

People v. Campbell, 269 A.D.2d 460 (2d Dep't 2000) (prosecutor's suppression of
Rosario material, a tape-recorded statement by the complainant, required reversal

__ of conviction)

People v. Calabria, 94 N.Y¥.2d 519 (2000)(prosecutor repeatedly defied court's
ruling and made false or misleading argument to jury)

People v. Campos, 281 A.D.2d 638 (2d Dep't 2001)(prosecutor failed to timely
disclose Brady material; prejudice not sufficient to require reversal)

Leka v. Portuondo, 257 F.3d 89 (2d Cir. 2001)(conviction overturned on habeas
review due to ADA's suppression of Brady material; ADA additionally misled
defense counsel regarding a crucial witness)

People v. Maddery, 282 A.D.2d 761 (2d Dep't 2001)(prosecutor’s failure to
disclose 911tape before trial as required by law required reversal of conviction)

Page 5 of 6
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Boyette v. LeFevre, 246 ¥.3d 78 (2d Cir. 2001)(conviction vacated on habeas
review because prosecutors had. suppressed numerous items of Brady material
could have persuaded the jury to acquit the defendant, who had a strong alibi
defense)

People v. Cannon, 191 Misc.2d 136 (Sup. Ct. Kings County 2002)(police failed
to preserve surveillance photographs, conduct for which the D.A. is
“accountable”)

People v. King, 298 A.D.2d 530 (2d Dep't 2002)(prosecutor’s failure to disclose
911 tape before trial as required by law required conviction to be reversed}

People v. Jenkins, 98 N.Y2d 280, 287-88 (2002)(Kaye, C.J., dissenting)
(prosecutor’s latedisclosure of ballistics report "blind sided" the defense and was
inexcusable)

People v. Vielman, 31 A.D.3d 674 (2d Dep't 2006)(reversing conviction because
prosecutor’s summation rested on a ‘"false premise” and was a “blatant attempt to .
mislead the jury”) ,

People v. Jones, 31 A.D.3d 666 (2d Dep't 2006)(prosecution fails to correct the
false testimony of a.key witness)

People y. Thompson, 54 A.D.3d 975 Qd Dep't 2008\{prosecutor suppressed
“Brady material” indicating someone other than the defendant committed the
crime)

" Waston v. Greene, 2009 WL 5172874 (E.D.N.Y. 2009)(Ross, J.)(DA disclosed

Brady material “too late” for the defense to make use of it even though they were
aware of material “more than a year in advance of trial”)

People v. Malik, 25 Misc.3d 1214(A) (Sup. Ct. Kings County 2009)(Goldberg, J J
(prosecution’s suppression of police report and other documents required vacatur
of conviction) oo

People v. Fuentes, 12 N.¥.3d 259 (2010)(prosecutor improperly withheld one-
page of notes from medical records of complainant containing potentially

favorable evidence for the defense; two judges find the suppression was.
“deliberate’”’)

Page 6 of 6
